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                      2:25-cv-01963-MEF-MAH             Daylight Time) Base City:
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                                                                                    04/24/25   Page 1 of 6 PageID:
                                                                1673



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                                     UNITED STATES DEPARTMENT OF JUSTICE
                                  EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                                               IMMIGRATION COURT
                                                   JENA, LOUISIANA
                  ______________________________
                  IN THE MATTER OF:              )
                                                 )      In Removal Proceedings
                  Mahmoud Khalil                 )
                                                 )      A
                                                 )
                  Respondent                     )


                  Immigration Judge: Comans                            Next Hearing: Unknown




                                    U.S. DEPARTMENT OF HOMELAND SECUIRTY’S
                                OPPOSITON TO RESPONDENT’S MOTION TO TERMINATE
EOIR — 1 of 6




        Exh. 15 - Adm.
                Case 2:25-cv-01963-MEF-MAH            Document 210-2        Filed 04/24/25      Page 2 of 6 PageID:
                                                            1674



                          The U.S. Department of Homeland Security, U.S. Immigration and Customs

                  Enforcement (DHS) respectfully requests that the immigration judge deny the respondent’s

                  motion to terminate proceedings.

                                                               FACTS

                          On March 8, 2025, agents of ICE Homeland Security Investigations (HSI) began

                  conducting surveillance within the vicinity of the respondent’s suspected address of

                                        New York, New York, with the intentions of establishing a pattern of life.

                  The terminology “pattern of life” is a term of art utilized by HSI when conducting surveillance

                  that simply means they are gathering information on the targeted subject regarding his frequent

                  locations, people he associates with, and various other information essential to law enforcement

                  activities. During the course of the surveillance, an HSI supervisory agent was notified by ICE

                  Enforcement Removal Operations (ERO) that a charge of removability under section

                  237(a)(4)(C) of the Immigration and Nationality Act (INA) had been approved and was

                  supported by the Secretary of State’s determination that the respondent’s presence or activities in

                  the United States would have serious adverse foreign policy consequences for the United States.

                  An individual resembling the respondent was seen near the location. He was first observed

                  walking on the sidewalk. The HSI supervisory agent radioed an HSI agent who was parked

                  directly in front of the                       address. The agent observed the individual, whom

                  he also believed to be the respondent approach the building. The respondent was with a female,

                  later determined to be his wife. The HSI agent exited his vehicle, identified himself as HSI and

                  police, and asked the respondent if he was Mahmoud Khalil. The respondent confirmed that he

                  was Mahmoud Khalil. The HSI supervisory agent then approached and asked the respondent for
EOIR — 2 of 6




                  identification. The respondent produced a foreign driver’s license. His wife interjected and




        Exh. 15 - Adm.
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                 on: 04/21/2025 at 04:55:43 PM (Central Document
                      2:25-cv-01963-MEF-MAH             Daylight Time) Base City:
                                                                    210-2    FiledJNA
                                                                                    04/24/25                     Page 3 of 6 PageID:
                                                                          1675



                  indicated that the respondent had lawful residence status. The supervisory agent exercised

                  discretion and gave the respondent’s wife an opportunity to obtain the respondent’s conditional

                  residence card which was located in their apartment, in lieu of arresting him for violating section

                  264(e) of the INA.1 The respondent and the HSI agents remained in the foyer.

                           The supervisory agent asked the respondent to cooperate while they attempted to verify

                  his identify, but the respondent stated that he would not cooperate and that he was going to leave

                  the scene. The HSI supervisory agent believed there was a flight risk and arrest was necessary.

                  At that time, the respondent’s wife had returned to the scene. The supervisory agent verbally

                  informed the respondent that he was under arrest. To note, the respondent’s wife recorded this

                  part of the encounter.2 Her video clearly shows that the arrest occurred in the foyer of the

                  building.

                           The respondent was placed under arrest and transported to the ICE Enforcement and

                  Removal Operations New York office for processing and booking into immigration custody. At

                  that time, HSI officers also executed and served the respondent with a warrant of arrest (Form I-

                  200), a Notice to Appear (Form I-862), and a Notice of Custody determination (Form I-286).

                                                                    ARGUMENT

                           Here, officers had exigent circumstances to conduct the warrantless arrest, it is the pattern

                  and practice of DHS to fully process a respondent once in custody with an I-200 as part of that

                  intake processing. In fact, 8 C.F.R. 236.1(b)(1), states that at the time of the notice to appear or

                  any time thereafter and up to the time of removal proceedings are completed, the respondent may




                  1
                    Under INA section 264(e) every alien, eighteen years of age and over, shall at all times carry with him and have in
EOIR — 3 of 6




                  his personal possession any certificate of alien registration or alien registration receipt card issued to him. When an
                  alien fails to comply with INA 246(e) he shall be guilty of a misdemeanor.
                  2
                    https://youtube.com/shorts/ihjycIIovms?si=CWn4bmc41FMXSnlc



        Exh. 15 - Adm.
                Case 2:25-cv-01963-MEF-MAH             Document 210-2         Filed 04/24/25      Page 4 of 6 PageID:
                                                             1676



                  be arrested and taken into custody under the authority of Form I-200. Thus, DHS can issue an I-

                  200 at any point, although in this case the arrest was under the exigent circumstance.

                         Contrary to the respondent’s argument, DHS was not required to obtain a judicial warrant

                  of arrest prior to arresting the respondent on March 8, 2025. Per the regulations, immigration

                  officers have the right to ask questions of anyone if they do not restrain the individual’s freedom

                  to walk away. 8 C.F.R. § 287.8(b)(1). Immigration officers also have the right to briefly detain

                  an individual for questioning where there is a reasonable suspicion based on specific articulable

                  facts that the individual engaged in an offense against the United States or is an alien illegally in

                  the United States. 8 C.F.R. § 287.8(b)(2). As to arrest, an immigration officer may effectuate an

                  arrest where he has reason to believe that the individual has committed an offense against the

                  United States or is an alien illegally in the United States. 8 C.F.R. § 287.8(c)(2)(i). Generally, a

                  warrant of arrest must be obtained. 8 C.F.R. § 287.8(c)(2)(ii). However, an exception to the

                  warrant requirement exists where the immigration officer has reason to believe that the

                  individual is likely to escape before a warrant can be obtained. Id.

                         In this case, HSI agents arrived at the address of                          New York, New

                  York, to conduct surveillance with the intentions of establishing a pattern of life. Upon receiving

                  notification that there was a legally sufficient removability charge under section 237(a)(4)(C) of

                  INA after a determination by the Secretary of State that the respondent’s presence or activities in

                  the United States would have serious adverse foreign policy consequences for the United States,

                  the HSI agents lawfully proceeded to question the respondent and asked for confirmation of his

                  identity. Per the regulations, the HSI agents were within their authority to question the

                  respondent. To note, they were also within their authority to briefly detain him for questioning
EOIR — 4 of 6




                  because at that time they had received information that he was a removable alien and had failed




        Exh. 15 - Adm.
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                      2:25-cv-01963-MEF-MAH             Daylight Time) Base City:
                                                                    210-2    FiledJNA
                                                                                    04/24/25                 Page 5 of 6 PageID:
                                                                1677



                  to carry his alien registration receipt card on his person, which is a misdemeanor under section

                  264(e) of the INA.

                          As to arrest, the HSI agents were not required to obtain a warrant of arrest because the

                  arrest was effectuated upon the respondent’s statements and actions that gave the agents reasons

                  to believe that it was likely he would escape before they could obtain a warrant. The respondent,

                  though required, was not carrying his alien registration receipt card on his person. He refused to

                  cooperate with the agents, even though they exercised discretion and decided not to arrest him on

                  a misdemeanor charge for failure to possess his green card, which is punishable by a fine or

                  imprisonment. He verbally informed the agents that he was going to leave the scene, even though

                  his wife had not yet returned with his conditional residence card. Given the agents’ interaction

                  with the respondent and the information received regarding removability and the Secretary of

                  State’s determination, the agents had reason to believe that the respondent was likely to escape

                  before a warrant could be obtained. Thus, the exception to the warrant requirement applied and

                  the agents were within lawful authority to arrest the respondent on March 8, 2025, at that time.

                                                          CONCLUSION

                          Based on the foregoing, there is no basis for termination of the removal proceedings.

                  DHS requests that the respondent’s motion to terminate be denied.

                                                               Respectfully submitted on April 21, 2025,
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                                                               Numa Metoyer
                                                               Deputy Chief Counsel
                                                               Department of Homeland Security
                                                               U.S. Immigration and Customs Enforcement
                                                               830 Pinehill Road
                                                               Jena, Louisiana 71342
EOIR — 5 of 6




        Exh. 15 - Adm.
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                      2:25-cv-01963-MEF-MAH             Daylight Time) Base City:
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EOIR — 6 of 6




        Exh. 15 - Adm.
